                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

ABEDE DASILVA,                                      )
                                                    )
       Plaintiff,                                   )
                                                    )
v.                                                  )      Civil No. 3:18-cv-00640
                                                    )      Judge Trauger
JEFFREY L. REINKING,                                )
                                                    )
       Defendant.                                   )


                                             ORDER

       The Joint Motion to Extend Time Necessary for Plaintiff to Respond to Defendant’s

Motion to Dismiss (Docket No. 17) is GRANTED. The plaintiff may have until November 15,

2018 within which to respond to the pending Motion to Dismiss.

       The initial case management conference scheduled for September 10, 2018 is

CONTINUED, to be reset, if appropriate, following disposition of this motion.

       It is so ORDERED.

       ENTER this 27th day of August 2018.



                                                    ________________________________
                                                    ALETA A. TRAUGER
                                                    U.S. District Judge




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